          Case 3:21-cr-00162-WHO Document 14 Filed 03/24/22 Page 1 of 17          FILED
                                                                                     Mar 24 2022
                       UNITED STATES DISTRICT COURT Mark B. Busby
                       NORTHERN DISTRICT OF CALIFORNIA
                                                   CLERK, U.S. DISTRICT COURT
                                                                      NORTHERN DISTRICT OF CALIFORNIA
                                                                                OAKLAND
                             CRIMINAL COVER SHEET
Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form, for each new criminal case.


 CASE NAME:                                                CASE NUMBER:
 USA V.    BABAK BROUMAND and MALAMATENIA MAVROMATIS                CR     CR 21-162 WHO
 Is This Case Under Seal?                       Yes       No ✔

 Total Number of Defendants:                       1      2-7 ✔       8 or more

 Does this case involve ONLY charges
                                                Yes       No   ✔
 under 8 U.S.C. § 1325 and/or 1326?

 Venue (Per Crim. L.R. 18-1):                    SF ✔ OAK             SJ

 Is this a potential high-cost case?            Yes       No ✔

 Is any defendant charged with
                                                Yes       No ✔
 a death-penalty-eligible crime?

 Is this a RICO Act gang case?                  Yes       No ✔

 Assigned AUSA
                    RUTH C. PINKEL, SAUSA                 Date Submitted:    3/24/2022
 (Lead Attorney):

 Comments:




                                                               RESET FORM              SAVE PDF
Form CAND-CRIM-COVER (Rev. 11/16)
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      United States District Court
                         FOR THE
              NORTHERN DISTRICT OF CALIFORNIA

                   VENUE: SAN FRANCISCO


                        UNITED STATES OF AMERICA,
                                        V.

                 BABAK BROUMAND and
       MALAMATENIA MAVROMATIS, a/k/a MALAMATENIA
               MAVROMATIS BROUMAND,

                                                                         FILED
                                                                             Mar 24 2022

                                                                    Mark B. Busby
                             DEFENDANT(S).                    CLERK, U.S. DISTRICT COURT
                                                           NORTHERN DISTRICT OF CALIFORNIA
                                                                   SAN FRANCISCO
  SUPERSEDING INDICTMENT

         18 U.S.C. § 1001(a)(2) – False Statement to a Government Agency;
            18 U.S.C. § 1014 – False Statement to a Financial Institution;
              26 U.S.C. § 7206(1) – Subscribing to a False Tax Return




         A true bill.

         /s/ Foreperson of the Grand Jury
                                                           Foreman

         Filed in open court this __________
                                  24th       day of

         _________________________________.
         March, 2022

          ____________________________________________
                                                 Clerk
          ____________________________________________

                                             Bail, $ _____________
                                                     Summonses
              Case 3:21-cr-00162-WHO Document 14 Filed 03/24/22 Page 3 of 17




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
                                                                           FILED
 2
                                                                             Mar 24 2022
 3
                                                                        Mark B. Busby
 4
                                                                  CLERK, U.S. DISTRICT COURT
 5                                                             NORTHERN DISTRICT OF CALIFORNIA
 6
                                                                       SAN FRANCISCO

 7

 8                                     UNITED STATES DISTRICT COURT

 9                                  NORTHERN DISTRICT OF CALIFORNIA

10                                         SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                           )   CASE NO. CR 21-162 WHO
                                                         )
12           Plaintiff,                                  )   VIOLATIONS:
                                                         )   18 U.S.C. § 1001(a)(2) – False Statement to a
13      v.                                               )   Government Agency; 18 U.S.C. § 1014 – False
                                                         )   Statement to a Financial Institution;
14   BABAK BROUMAND and                                  )
     MALAMATENIA MAVROMATIS, a/k/a                       )   26 U.S.C. § 7206(1) – Subscribing to a False Tax
15   MALAMATENIA MAVROMATIS                              )   Return
     BROUMAND,                                           )
16                                                       )   SAN FRANCISCO VENUE
             Defendants.                                 )
17                                                       )

18
19                                  SUPERSEDING INDICTMENT
20 The Grand Jury charges:

21                                             Introductory Allegations
22           At all times relevant to this Indictment:
23           1. Defendant BABAK BROUMAND (“BROUMAND”) was a Special Agent of the Federal
24 Bureau of Investigation (“FBI”), an agency within the executive branch of the United States

25 government, assigned to the San Francisco field division of the FBI.

26           2. BROUMAND became an FBI agent in January 1999 and was responsible for, among other
27 things, national security investigations. BROUMAND’s responsibilities included recruiting human

28 intelligence sources for the FBI. As an FBI agent, BROUMAND had access to non-public law

     FIRST SUPERSEDING INDICTMENT
     CR 21-162 WHO
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 1 enforcement databases, which, pursuant to government regulations, were only to be used to conduct

 2 legitimate law enforcement investigations. As a Special Agent with the FBI, BROUMAND was a

 3 public official, had a top secret security clearance, and access to sensitive compartmented information

 4 (“SCI”).

 5          3. Executive Order 12968 established a requirement that all Executive Branch personnel who

 6 are granted access to “particularly sensitive classified information,” as a condition of such access, file

 7 with the agency head an annual financial disclosure report.

 8          4. The FBI Financial Disclosure Program requires employees with access to SCI or who are

 9 designated by the Director or Deputy Director of the FBI to file an annual Security Financial Disclosure

10 Form (”Financial Disclosure Form”). Among other things, income of all kinds (including gifts), assets,

11 including vehicles and how they were acquired, and loans are required to be disclosed on the Financial

12 Disclosure Form.

13          5. Before final submission of a Financial Disclosure Form, which is submitted electronically

14 with a password, a certification screen states, “I certify that the entries made by me are true, complete,

15 and accurate to the best of my knowledge and belief and are made in good faith. I understand that

16 knowing and willful false statements on this form can be punished by fine or imprisonment or both (See

17 U.S. Code Title 18, Section 1001).”

18          6. As an FBI Agent with access to SCI, BROUMAND was required to file an annual Financial

19 Disclosure Form. Among other years, BROUMAND filed a Financial Disclosure Form for years

20 including 2015, 2016, and 2017.

21                                       PARTIES, PERSONS AND ENTITIES

22          7. Defendant MALAMATENIA MAVROMATIS, also known as MALAMATENIA

23 MAVROMATIS BROUMAND (“MAVROMATIS”), was an attorney licensed to practice law in

24 California and worked as an attorney for a company that specialized in real property hazard disclosures

25 for real estate transactions. MAVROMATIS was married to BROUMAND.

26          8. Love Bugs, LLC (“Love Bugs”), was a partnership consisting of a lice-removal hair salon

27 business started in 2007 by BROUMAND and MAVROMATIS, which operated in the Northern District

28 of California. BROUMAND and MAVROMATIS each had fifty percent (50%) ownership of Love

     SUPERSEDING INDICTMENT
     CR 21-162-WHO                                    2
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 1 Bugs. BROUMAND prepared and filed tax returns, including sales and use tax returns, for Love Bugs

 2 with the Internal Revenue Service (“IRS”) and the state of California. BROUMAND also handled the

 3 banking, including making deposits of cash and checks, for Love Bugs.

 4          9. In approximately 2010, BROUMAND and MAVROMATIS purchased a vacation home on

 5 Seventh Avenue in Tahoma, California next to Lake Tahoe (the “First Tahoe House”) with title in their

 6 own names. In 2014, BROUMAND and MAVROMATIS recorded a deed transferring title of the First

 7 Tahoe House to Love Bugs, LLC. In August 2015, BROUMAND and MAVROMATIS sold the First

 8 Tahoe house, realizing a capital gain of approximately $153,642, and affirmatively represented that it

 9 was a corporate sale not required to be reported to the IRS. MAVROMATIS and BROUMAND then

10 took personal possession of the sale proceeds and used the funds money for their own personal purposes.

11 In or about November 2015, MAVROMATIS and BROUMAND used the sale proceeds from the sale

12 of the First Tahoe House by Love Bugs for purchase of a larger vacation home on West Lake Boulevard

13 in Homewood, California the (“Second Tahoe House”) in the names of BROUMAND and

14 MAVROMATIS, but did not report the sale of the First Tahoe House or any capital gains to the IRS.

15          10. Killer Bees Management, LLC (“Killer Bees”), was a partnership created by BROUMAND

16 and MAVROMATIS in approximately 2005. BROUMAND and MAVROMATIS each had fifty percent

17 (50%) ownership of Killer Bees. In approximately 2005, BROUMAND and MAVROMATIS

18 purchased two condominiums in Corpus Christi, Texas, one was on Salt Cay Court and the other was on
19 Gun Cay Court (“Texas condominiums”) with title in their own names. BROUMAND and

20 MAVROMATIS filed Form 1065 U.S. partnership tax returns with the IRS for Killer Bees, which listed

21 gross rents for both condominiums, but only listed the name and address for the condominium on Salt

22 Cay Court. The condominiums were titled in the name of BROUMAND and MAVROMATIS.

23 BROUMAND and MAVROMATIS sold the Texas condominiums in 2015 and realized a capital gain of

24 approximately $46,182. In or about November 2015, BROUMAND and MAVROMATIS used the sale

25 proceeds from the sale of the Texas condominiums for purchase of the Second Tahoe House in the

26 names of BROUMAND and MAVROMATIS, but did not report the sale of the Texas condominiums or

27 any capital gains to the IRS.

28

     SUPERSEDING INDICTMENT
     CR 21-162-WHO                                  3
             Case 3:21-cr-00162-WHO Document 14 Filed 03/24/22 Page 6 of 17




 1          BROUMAND Receives Checks And Ducati Motorcycle

 2          11. Edgar Sargsyan was an individual engaged in criminal conduct and associated with a

 3 criminal organization. Among other corporations and entities, Edgar Sargsyan had access to and/or

 4 control over bank accounts in the name of Andor’e and ARCA Capital.

 5          12. On or about April 29, 2015, in Los Angeles, California, Sargsyan purchased for

 6 BROUMAND a 2015 Ducati Panigale motorcycle and accessories (collectively, “the Ducati”) for

 7 approximately $36,100.

 8          13.   On or about September 30, 2015, in Beverly Hills, California, Sargsyan gave

 9 BROUMAND a $30,000 cashier’s check payable from Andor’e Inc. to Love Bugs, because Sargsyan

10 was making regular payments to BROUMAND, and BROUMAND told Sargsyan he needed it to “buy a

11 house in the mountains.”

12          14. Between September 30, 2015, and October 9, 2015, BROUMAND deposited the $30,000

13 cashier’s check in the Love Bugs bank account and transferred the funds through two additional bank

14 accounts in his and MAVROMATIS’s names. Thereafter, BROUMAND transferred the funds to a title

15 company for purchase of the Second Tahoe House.

16          15. After the mortgage company questioned the source of the $30,000, on or about October 21,

17 2015, BROUMAND submitted to the mortgage company a false bill of sale, dated September 30, 2015,

18 which falsely stated that BROUMAND sold a 1991 Sea Ray boat to Sargsyan for $30,000.
19          16. On or about December 15, 2015, BROUMAND, months after he submitted the false bill of

20 sale to the mortgage company, sold the 1991 Sea Ray boat to a third party (not Sargsyan) for

21 approximately $6,000 in cash.

22          17. On or about March 21, 2016, BROUMAND solicited another $30,000 check from Sargsyan,

23 this time payable from ARCA Capital to BROUMAND’s parents, which was deposited into

24 BROUMAND’s parents’ bank account. Several weeks later, $29,300 of the funds were transferred to a

25 Business A bank account and used to make a payment on the Love Bugs American Express credit card,

26 which BROUMAND used for personal expenses.

27 //

28

     SUPERSEDING INDICTMENT
     CR 21-162-WHO                                  4
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 1 COUNT ONE:              (18 U.S.C. § 1001(a)(2) – False Statement to a Government Agency)

 2          Paragraphs 1 through 17 of this Superseding Indictment are re-alleged and incorporated as if

 3 fully set forth here.

 4          On or about April 25, 2016, in the Northern District of California, the defendant,

 5                                           BABAK BROUMAND,

 6 did willfully and knowingly make materially false, fictitious, and fraudulent statements and

 7 representations in a matter within the jurisdiction of the United States Federal Bureau of Investigation

 8 (FBI), an agency of the Executive Branch of the Government of the United States, by failing to report as

 9 required on his 2015 calendar year Financial Disclosure Form (1) his receipt of the $30,000 cashier’s

10 check from Edgar Sargsyan and/or Andor’e Inc.; (2) his receipt of the Ducati motorcycle from Edgar

11 Sargsyan; and (3) by falsely stating, in response to a question of how the Ducati was acquired, that it

12 was “purchased.” These statements and representations were false because, as BROUMAND then and

13 there knew, he had received the $30,000 cashier’s check from Edgar Sargsyan through an entity called

14 Andor’e Inc. which he should have reported under “Other Income,” or as a loan, and he received the

15 Ducati from Sargsyan as “Other Income” and did not purchase it.

16          All in violation of Title 18, United States Code, Section 1001(a)(2).

17 COUNT TWO:              (18 U.S.C. § 1001(a)(2) – False Statement to a Government Agency)

18          Paragraphs 1 through 17 of this Superseding Indictment are re-alleged and incorporated as if

19 fully set forth here.

20          On or about March 24, 2017, in the Northern District of California, the defendant,

21                                           BABAK BROUMAND,

22 did willfully and knowingly make materially false, fictitious, and fraudulent statements and

23 representations in a matter within the jurisdiction of the United States Federal Bureau of Investigation

24 (FBI), an agency of the Executive Branch of the Government of the United States, by failing to report on

25 his 2016 calendar year annual Financial Disclosure Form his receipt of funds from a $30,000 check from

26 Edgar Sargsyan through an entity called ARCA Capital. These statements and representations were

27 false because, as BROUMAND then and there knew, BROUMAND had received a $30,000 check from

28 Sargsyan through an entity called ARCA Capital.

     SUPERSEDING INDICTMENT
     CR 21-162-WHO                                   5
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 1          All in violation of Title 18, United States Code, Section 1001(a)(2).

 2 COUNT THREE:            (18 U.S.C. § 1001(a)(2) – False Statement to a Government Agency)

 3          Paragraphs 1 through 17 of this Superseding Indictment are re-alleged and incorporated as if

 4 fully set forth here.

 5          On or about April 27, 2018, in the Northern District of California, the defendant,

 6                                           BABAK BROUMAND,

 7 did willfully and knowingly make materially false, fictitious, and fraudulent statements and

 8 representations in a matter within the jurisdiction of the United States Federal Bureau of Investigation

 9 (FBI), an agency of the Executive Branch of the Government of the United States by representing on his

10 2017 calendar year annual Financial Disclosure Form that he had a $30,000 “loan” from Edgar

11 Sargsyan. These statements and representations were false because, as BROUMAND then and there

12 knew, Sargsyan did not loan money to BROUMAND but instead provided the money to BROUMAND

13 without any agreement for repayment.

14          All in violation of Title 18, United States Code, Section 1001(a)(2).

15 COUNT FOUR: (18 U.S.C. § 1014-False Statement to a Financial Institution)

16          Paragraphs 1 through 17 of this Superseding Indictment are re-alleged and incorporated as if

17 fully set forth here.

18          On or about September 15, 2015, in the Northern District of California, the defendants,

19                                         BABAK BROUMAND and
                                        MALAMATENIA BROUMAND
20                                  a/k/a MALAMATENIA MAVROMATIS,
21 did knowingly make false statements and reports for the purpose of influencing the actions of American

22 Pacific Mortgage Corporation, doing business as Equitable Mortgage Group (“EMG”), a mortgage

23 lending business, in connection with the loan for their purchase of the Second Tahoe House on West

24 Lake Boulevard in Lake Tahoe for approximately $1.3 million. Specifically, BROUMAND and

25 MAVROMATIS caused to be submitted a Uniform Residential Loan Application for a loan secured by

26 the Second Tahoe House, which stated that the purchase was for an “investment” rather than a

27 “secondary residence,” and provided EMG with a fictitious lease purporting to show the Second Tahoe

28 House was leased to M.W. and T.W. from November 1, 2015, to November 1, 2016, for $6,550 a

     SUPERSEDING INDICTMENT
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 1 month. In truth, and as BROUMAND and MAVROMATIS then knew, they had not leased the Second

 2 Tahoe House to M.W. and T.W. and it was the vacation home for BROUMAND and MAVROMATIS.

 3          All in violation of Title 18, United States Code, Section 1014.

 4 COUNT FIVE: (18 U.S.C. § 1014-False Statement to a Financial Institution)

 5          Paragraphs 1 through 17 of this Superseding Indictment are re-alleged and incorporated as if

 6 fully set forth here.

 7          On or about October 21, 2015, in the Northern District of California, the defendant,

 8                                           BABAK BROUMAND,

 9 did knowingly make false statements and reports for the purpose of influencing the actions of American

10 Pacific Mortgage Corporation, doing business as Equitable Mortgage Group (“EMG”), a mortgage

11 lending business, in connection with the loan for his purchase of the Second Tahoe House on West Lake

12 Boulevard in Lake Tahoe for approximately $1.3 million, which was secured by the Second Tahoe

13 House. Specifically, defendant represented that $30,000 in funds from a check used for part of the down

14 payment were proceeds from the sale of a boat and provided a purported “Bill of Sale” to “Edgar

15 Sargysian (sic),” a letter signed by BROUMAND, and other false supporting documentation when, in

16 truth and as BROUMAND then knew, he had not sold a boat to Sargsyan and sold the boat over two

17 months later to someone else for far less money. EMG sold this loan to JP Morgan Chase, a financial

18 institution insured by the FDIC.
19          All in violation of Title 18, United States Code, Section 1014.
20 COUNT SIX: (18 U.S.C. § 1014-False Statement to a Financial Institution)

21          Paragraphs 1 through 17 of this Superseding Indictment are re-alleged and incorporated as if
22 fully set forth here.

23          On or about November 2, 2016, in the Northern District of California, the defendants,
24                                          BABAK BROUMAND,
                                        MALAMATENIA BROUMAND,
25
                                    a/k/a MALAMATENIA MAVROMATIS,
26
     did knowingly make false statements and reports for the purpose of influencing the actions of Union
27
     Bank, a financial institution insured by the FDIC, in connection with a loan application for the purchase
28

     SUPERSEDING INDICTMENT
     CR 21-162-WHO                                   7
            Case 3:21-cr-00162-WHO Document 14 Filed 03/24/22 Page 10 of 17




 1 of defendants’ $1.7 million primary residence on Rancho View in Lafayette, California. Specifically,

 2 BROUMAND and MAVROMATIS caused to be submitted to Union Bank a Uniform Residential Loan

 3 Application for a loan secured by the primary residence on Rancho View Drive, which stated their

 4 Second Tahoe House was rented for $5,500 per month, and caused to be submitted a signed one-year

 5 lease, letters, and copies of “rent” checks purporting to show their Second Tahoe House was rented out

 6 to M.W. and T.W. for $5,500 per month for one year, when in fact, as BROUMAND and

 7 MAVROMATIS then knew, the lease agreement and “rent” checks were fraudulent and fictious because

 8 defendants’ Second Tahoe House was not rented, and they reimbursed M.W. and T.W. with cash and a

 9 check for the “rent” allegedly paid.

10          All in violation of Title 18, United States Code, Section 1014.

11 COUNT SEVEN: (26 U.S.C. § 7206(1)-Subscribing To a False Tax Return)

12          Paragraphs 1 through 17 of this Superseding Indictment are re-alleged and incorporated as if

13 fully set forth here.

14          On or about April 15, 2016, in the Northern District of California, the defendant,

15                                           BABAK BROUMAND

16 a resident of Lafayette, California, did willfully make and subscribe a U.S. Return of Partnership

17 Income, Form 1065, for the calendar year 2015, for Love Bugs, which was verified by a written

18 declaration that it was made under the penalties of perjury and which he did not believe to be true and
19 correct as to every material matter. On that income tax return, which was prepared and signed in the

20 Northern District of California and was filed with the IRS, BROUMAND reported gross receipts on line

21 1a of $502,002, whereas, as he then and there knew, he failed to report additional income of $14,607

22 from customer checks.

23          All in violation of Title 26, United States Code, Section 7206(1).

24 COUNT EIGHT: (26 U.S.C. § 7206(1) -Subscribing To a False Tax Return)

25          Paragraphs 1 through 17 of this Superseding Indictment are re-alleged and incorporated as if

26 fully set forth here.

27          On or about April 15, 2016, in the Northern District of California, the defendant,

28                                           BABAK BROUMAND

     SUPERSEDING INDICTMENT
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 1 a resident of Lafayette, California, did willfully make and subscribe a U.S. Individual Income Tax

 2 Return, Form 1040, for the calendar year 2015, which was verified by a written declaration that it was

 3 made under the penalties of perjury and which he did not believe to be true and correct as to every

 4 material matter. On that income tax return, and its attachments, including Schedules K-1 and E, which

 5 was prepared and signed in the Northern District of California and was filed with the IRS,

 6 BROUMAND only reported 50% of the Love Bugs partnership income, which also failed to include all

 7 gross receipts, and failed to report either the sales of the First Tahoe House and the two Texas

 8 condominiums, or the approximately $199,000 in capital gains derived therefrom, whereas, as he then

 9 and there knew, 100% of partnership income, real property sales, and capital gains should have been

10 reported, and the partnership income did not include gross receipts from checks and cash.

11          All in violation of Title 26, United States Code, Section 7206(1).

12 COUNT NINE: (26 U.S.C. § 7206(1)-Subscribing To a False Tax Return)

13          Paragraphs 1 through 17 of this Superseding Indictment are re-alleged and incorporated as if

14 fully set forth here.

15          On or about April 10, 2017, in the Northern District of California, the defendant,

16                                           BABAK BROUMAND

17 a resident of Lafayette, California, did willfully make and subscribe a U.S. Return of Partnership

18 Income, Form 1065, for the calendar year 2016, for Love Bugs, which was verified by a written
19 declaration that it was made under the penalties of perjury and which he did not believe to be true and

20 correct as to every material matter. On that income tax return, which was prepared and signed in the

21 Northern District of California and was filed with the IRS, BROUMAND reported gross receipts on line

22 1a of $527,124, whereas, as he then and there knew, he failed to report additional income of $8,593

23 from customer checks.

24          All in violation of Title 26, United States Code, Section 7206(1).

25 COUNT TEN: (26 U.S.C. § 7206(1)-Subscribing To a False Tax Return)

26          Paragraphs 1 through 17 of this Superseding Indictment are re-alleged and incorporated as if

27 fully set forth here.

28          On or about June 1, 2017, in the Northern District of California, the defendant,

     SUPERSEDING INDICTMENT
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 1                                           BABAK BROUMAND

 2 a resident of Lafayette, California, did willfully make and subscribe a U.S. Individual Income Tax

 3 Return, Form 1040, for the calendar year 2016, which was verified by a written declaration that it was

 4 made under the penalties of perjury and which he did not believe to be true and correct as to every

 5 material matter. On that income tax return, and its attachments, including Schedules E and K-1, which

 6 was prepared and signed in the Northern District of California and was filed with the IRS,

 7 BROUMAND reported only 50% of the Love Bugs partnership income, which also failed to include all

 8 gross receipts, whereas, as he then and there knew, 100% of partnership income should have been

 9 reported and the partnership income did not include gross receipts from checks and cash.

10          All in violation of Title 26, United States Code, Section 7206(1).

11 COUNT ELEVEN: (26 U.S.C. § 7206(1)-Subscribing To a False Tax Return)

12          Paragraphs 1 through 17 of this Superseding Indictment are re-alleged and incorporated as if

13 fully set forth here.

14          On or about April 15, 2018, in the Northern District of California, the defendant,

15                                           BABAK BROUMAND

16 a resident of Lafayette, California, did willfully make and subscribe a U.S. Individual Income Tax

17 Return, Form 1040, for the calendar year 2017, which was verified by a written declaration that it was

18 made under the penalties of perjury and which he did not believe to be true and correct as to every
19 material matter. On that income tax return, and its attachments, including Schedule E, which was

20 prepared and signed in the Northern District of California and was filed with the IRS, BROUMAND

21 reported a -$6,215 loss from partnership income on Line 17 and Schedule E, for both partners (100%),

22 which failed to include all gross receipts, whereas, as he then and there knew, the partnership loss did

23 not include gross receipts from checks.

24          All in violation of Title 26, United States Code, Section 7206(1).

25 COUNT TWELVE: (26 U.S.C. § 7206(1)-Subscribing To a False Tax Return)

26          Paragraphs 1 through 17 of this Superseding Indictment are re-alleged and incorporated as if

27 fully set forth here.

28          On or about March 15, 2018, in the Northern District of California, the defendant,

     SUPERSEDING INDICTMENT
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 1                                           BABAK BROUMAND

 2 a resident of Lafayette, California, did willfully make and subscribe a U.S. Return of Partnership

 3 Income, Form 1065, for the calendar year 2017, for Love Bugs, which was verified by a written

 4 declaration that it was made under the penalties of perjury and which he did not believe to be true and

 5 correct as to every material matter. On that income tax return, which was prepared and signed in the

 6 Northern District of California and was filed with the IRS, BROUMAND reported gross receipts on line

 7 1a of $393,131, whereas, as he then and there knew, he failed to report additional income of $3,630

 8 from customer checks.

 9          All in violation of Title 26, United States Code, Section 7206(1).

10

11

12 DATED: 3/24/2022                                              A TRUE BILL.

13                                                                       /s/

14                                                               _________________________
                                                                 FOREPERSON
15

16 STEPHANIE M. HINDS
   United States Attorney
17

18
19 _____________________________
   RUTH C. PINKEL
20 MICHAEL J. MORSE
   Special Assistant United States Attorneys
21

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     SUPERSEDING INDICTMENT
     CR 21-162-WHO                                  11
AO 257 (Rev. 6/78)         Case 3:21-cr-00162-WHO Document 14 Filed 03/24/22 Page 14 of 17

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT               INFORMATION                   INDICTMENT                       Name of District Court, and/or Judge/Magistrate Location
                                                                SUPERSEDING                        NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                             SAN FRANCISCO DIVISION
 Counts 1-3: 18 U.S.C. § 1001 (a)(2) False Statement to Govt           Petty
 Agency
 Counts 4-6: 18 U.S.C. § 1014 False Statement to a Financial           Minor              DEFENDANT - U.S
 Institution
 Counts 7-12: 26 U.S.C. § 7206(1) -Subscribing To a False Tax          Misde-
 Return                                                                meanor
                                                                                         Babak Broumand
                                                                       Felony
                                                                                             DISTRICT COURT NUMBER
PENALTY:      See attached.
                                                                                             CR 21-162-WHO


                                                                                                                       DEFENDANT
                              PROCEEDING                                                       IS NOT IN CUSTODY
                                                                                                 Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                              1)       If not detained give date any prior
                       IRS Special Agent Mark Silva
                                                                                                 summons was served on above charges         
                                                                                                                                            April 20, 2021

       person is awaiting trial in another Federal or State Court,                      2)       Is a Fugitive
       give name of court
                                                                                        3)       Is on Bail or Release from (show District)

                                                                                                  U.S. v. Broumand, Central District CR 20-224(A)-RGK
       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District


                                                                                                                         FILED
                                                                                               IS IN CUSTODY
                                                                                        4)       On this charge
       this is a reprosecution of

                                                                                                                          Mar}24 2022
       charges previously dismissed                                                     5)       On another conviction
       which were dismissed on motion                             SHOW                                                                      Federal         State


                                                        }
       of:                                                      DOCKET NO.
                                                                                        6)       Awaiting trial on other charges
            U.S. ATTORNEY               DEFENSE                                                                          Mark
                                                                                                  If answer to (6) is "Yes", show B. Busby
                                                                                                                                  name of institution
                                                                                                            CLERK, U.S. DISTRICT COURT
       this prosecution relates to a
                                                                                                         NORTHERN  DISTRICT
                                                                                                                      If "Yes" OF CALIFORNIA
       pending case involving this same
       defendant                                                MAGISTRATE
                                                                                             Has detainer
                                                                                             been filed?
                                                                                                            Yes

                                                                                                            No   SAN give  }date
                                                                                                                      FRANCISCO
                                                                                                                      filed


                                                        }
                                                                 CASE NO.
       prior proceedings or appearance(s)                                                    DATE OF
                                                                                             ARREST
                                                                                                                       Month/Day/Year
       before U.S. Magistrate regarding this
       defendant were recorded under                                                         Or... if Arresting Agency & Warrant were not

                                                                                                                                     Month/Day/Year
Name and Office of Person
Furnishing Information on this form                Stephanie M. Hinds
                                                                                             DATE TRANSFERRED
                                                                                             TO U.S. CUSTODY
                                                                                                                           
                                 U.S. Attorney          Other U.S. Agency

Name of Assistant U.S.                                                                            This report amends AO 257 previously submitted
Attorney (if assigned)                     Ruth Pinkel & Michael Morse
                                                       ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS                NO PROCESS*                  WARRANT         Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                  * Where defendant previously apprehended on complaint, no new summons or
                                                                                warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

        1450 Rancho View Drive, Lafayette, CA 94549                             Date/Time:                                 Before Judge:

        Comments:
        Case 3:21-cr-00162-WHO Document 14 Filed 03/24/22 Page 15 ofFILED
                                                                     17

                                                                        Mar 24 2022

                                                                       Mark B. Busby
                            PENALTY SHEET                        CLERK, U.S. DISTRICT COURT
                                                              NORTHERN DISTRICT OF CALIFORNIA
                                                                      SAN FRANCISCO


COUNTS ONE through THREE:      18 U.S.C. § 1001 (a)(2) (False Statement to Govt
                               Agency)


                               Maximum 5 years prison
                               Maximum 3 years supervised release following
                               incarceration
                               Maximum $250,000 fine
                               $100 special assessment


COUNTS FOUR through SIX:       18 U.S.C. § 1014 (False Statement to a Financial
                               Institution)


                               Maximum 30 years prison
                               Maximum 5 years supervised release following
                               incarceration
                               Maximum $1 million fine
                               $100 special assessment


COUNTS SEVEN through TWELVE:         26 U.S.C. § 7206(1) -Subscribing To a False
                                     Tax Return


                               Maximum 3 years prison
                               Maximum 1 year supervised release following
                               incarceration
                               Maximum $250,000 fine
                               $100 special assessment
AO 257 (Rev. 6/78)         Case 3:21-cr-00162-WHO Document 14 Filed 03/24/22 Page 16 of 17

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT                INFORMATION                   INDICTMENT                       Name of District Court, and/or Judge/Magistrate Location
                                                                 SUPERSEDING                        NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                              SAN FRANCISCO DIVISION
 Counts 4 & 6: 18 U.S.C. § 1014 False Statement to a Financial          Petty
 Institution
                                                                        Minor              DEFENDANT - U.S
                                                                        Misde-
                                                                        meanor
                                                                                          Malamatenia Mavromatis
                                                                        Felony
                                                                                              DISTRICT COURT NUMBER
PENALTY:      See attached
                                                                                              CR 21-162-WHO


                                                                                                                        DEFENDANT
                              PROCEEDING                                                        IS NOT IN CUSTODY
                                                                                                  Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                               1)       If not detained give date any prior
                        IRS Special Agent Mark Silva
                                                                                                  summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                       2)       Is a Fugitive

                                                                                                                        FILED
       give name of court
                                                                                         3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District                                                                 Mar 24 2022
                                                                                                IS IN CUSTODY
                                                                                         4)       On this charge       Mark B. Busby
       this is a reprosecution of                                                                            CLERK, U.S. DISTRICT COURT
                                                                                                                                   }
       charges previously dismissed                                                      5)       On another conviction
       which were dismissed on motion                              SHOW                               NORTHERN DISTRICT OF Federal  CALIFORNIA
                                                                                                                                            State


                                                        }
       of:                                                       DOCKET NO.
                                                                                         6)
                                                                                                                      SAN   FRANCISCO
                                                                                                  Awaiting trial on other charges
            U.S. ATTORNEY               DEFENSE
                                                                                                   If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                            }
                                                                                                                  Yes            If "Yes"
       pending case involving this same                                                       Has detainer
                                                                                                                                 give date
       defendant                                                 MAGISTRATE                   been filed?         No             filed


                                                        }
                                                                  CASE NO.
       prior proceedings or appearance(s)                                                     DATE OF
                                                                                              ARREST
                                                                                                                        Month/Day/Year
       before U.S. Magistrate regarding this
       defendant were recorded under                                                          Or... if Arresting Agency & Warrant were not

                                                                                                                                       Month/Day/Year
Name and Office of Person
Furnishing Information on this form                Stephanie M. Hinds
                                                                                              DATE TRANSFERRED
                                                                                              TO U.S. CUSTODY
                                                                                                                            
                                 U.S. Attorney           Other U.S. Agency

Name of Assistant U.S.                                                                             This report amends AO 257 previously submitted
Attorney (if assigned)                      Ruth Pinkel & Michael Morse
                                                        ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS                NO PROCESS*                   WARRANT         Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                   * Where defendant previously apprehended on complaint, no new summons or
                                                                                 warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

        1450 Rancho View Drive, Lafayette, CA 94549                              Date/Time:                                 Before Judge:

        Comments:
       Case 3:21-cr-00162-WHO Document 14 Filed 03/24/22 Page 17 of 17



                             PENALTY SHEET




COUNTS FOUR and SIX:            18 U.S.C. § 1014 (False Statement to a Financial
                                Institution)


                                Maximum 30 years prison
                                Maximum 5 years supervised release following
                                incarceration
                                Maximum $1 million fine
                                $100 special assessment




                                                           FILED
                                                             Mar 24 2022

                                                          Mark B. Busby
                                                    CLERK, U.S. DISTRICT COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA
                                                         SAN FRANCISCO
